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           IN THE UNITED STATES DISTRICT COURT
   FOR THE SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

SHANNON BARRON,                            Case No. ----------
On behalf of herself and all others        COMPLAINT FOR VIOLATIONS OF:
similarly situated
                                               1. The Fair Labor Standards Act (29
                     Plaintiffs,                  U.S.C. §§ 201-219);
                                               2. FRCP 23 Class Action (State-Law
      v.                                          Claims):
                                                  a. Article II, § 34a of the Ohio
CHARTER COMMUNICATIONS,                              Constitution
LLC                                               b. Ohio Revised Code Chapter
                                                     4111: Ohio Minimum Fair Wage
c/o Corporation Service Company                      Standards Act
50 West Broad Street Suite 1330                   c. Ohio Revised Code 2307.60: Civil
Columbus, OH 43215                                   Action For Damages For
                                                     Criminal Act
                     Defendant,
                                           DEMAND FOR JURY TRIAL


                                                      Judge -------
                                                      Magistrate Judge ------




       Now comes Plaintiff, Shannon Barron, by and through her undersigned counsel, Michael

L. Fradin and Hans A. Nilges, and for her Complaint against Defendant, Charter Communications,

LLC states and alleges the following:

                                        INTRODUCTION
      1.       This is a “collective action” instituted by Plaintiff as a result of Defendant’s

practices and policies of not paying its non-exempt employees, including Plaintiff and other

similarly-situated employees, for all hours worked, in violation of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §§ 201-219, as well as a “class action” pursuant to Fed. R. Civ. P. 23 to

remedy violations of Article II, § 34A of the Ohio Constitution, the Ohio Minimum Fair Wage

Standards Act (“OMFWSA”), R.C. 4111.03 and R.C. 2307.60.

                                JURISDICTION AND VENUE

      2.       The Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 216(b).

      3.       The Court has supplemental jurisdiction over Plaintiff’s OMFWSA, Ohio

Constitutional, and R.C. 2307.60 claims pursuant to 28 U.S.C. § 1367 because the claims are so

related to the FLSA claims as to form part of the same case or controversy.

      4.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant conducts

business throughout this District and Division and because a substantial part of the events and

omissions giving rise to the claims occurred in this District and Division.

                                            PARTIES

       5.      At all times relevant herein, Plaintiff has been a citizen of the United States and a

resident of Ohio.

       6.      At all times relevant herein, Plaintiff was an employee within the meaning of 29

U.S.C. § 203(e) and R.C. 4111.03(D)(3).

       7.      Defendant Charter Communications, LLC is a corporation for profit organized and

existing under the laws of the State of Delaware.
       8.      At times relevant herein, Defendant conducted business in Dublin, Ohio as well as

across the Country.

       9.      At all times relevant herein, Defendant was an employer within the meaning of 29

U.S.C. § 203(d) and R.C. 4111.03(D)(2).

       10.    At all times relevant herein, Defendant was an enterprise within the meaning of 29

U.S.C. § 203(r).

       11.    At all times relevant herein, Defendant was an enterprise engaged in commerce or

in the production of goods for commerce within the meaning of 29 U.S.C. § 203(s)(1).

       12.    At all times relevant herein, Plaintiff and the putative class members were

employees engaged in commerce or in the production of goods for commerce within the meaning

of 29 U.S.C. §§ 206-207.

       13.    Plaintiff’s consent is attached as exhibit A. Written consents to join this action as to

Count One, as and when executed by other individual plaintiffs, will be filed pursuant to 29 U.S.C.

§ 216(b).

                                  FACTUAL ALLEGATIONS

       14.     Defendant operates customer service centers throughout the United States that

employ account representatives and compliance representatives and other customer service

representatives (hereinafter “representatives”).

       15.     Defendant also employs representatives who work remotely and perform the same

tasks as the call center/customer care representatives who work in the call centers.

       16.     Plaintiff was employed by Defendant at their Dublin, Ohio customer service center

from about October, 2008 through about July 30, 2020.

       17.     Like other representatives, Plaintiff also often worked from home.
       18.     Plaintiff and other similarly-situated employees were employed as customer service

representatives or performed similar tasks as call center/ customer care/account/compliance

representatives.

       19.     Plaintiff and other similarly-situated employees are non-exempt employees under

the FLSA.

       20.     Plaintiff and other similarly-situated employees are paid an hourly wage.

                   (Failure to Pay For Time Spent Starting and Logging Into
                     Computer Systems, Applications, and Phone System)

       21.     Plaintiff and other similarly-situated employees were required by Defendant to

perform unpaid work before clocking in each day, including but not limited to starting and logging

into Defendant’s computer systems, numerous software applications, and phone system.

       22.     Defendant arbitrarily failed to count this work performed by Plaintiff and other

similarly-situated employees as “hours worked.”

       23.     Plaintiff and other similarly-situated employees performed this unpaid work every

workday, and it constituted a part of their fixed and regular working time.

       24.     This unpaid work performed by Plaintiff and other similarly-situated employees

was practically ascertainable to Defendant.

       25.     There is no practical administrative difficulty of recording this unpaid work of

Plaintiff’s and other similarly-situated employees. It could be precisely recorded for payroll

purposes simply by allowing them to clock in and be paid before they brought up Defendant’s

computer systems, applications, and phone system.

       26.     This unpaid work performed by Plaintiff and other similarly-situated employees

constituted a part of their principal activities, was required by Defendant, and was performed for

Defendant’s benefit.
       27.     Moreover, this unpaid work is an integral and indispensable part of other principle

activities performed by Plaintiff and other similarly-situated employees. They cannot perform

their work without bringing up Defendant’s computer systems, applications, and phone system.

  (Failure to Pay for Time Spent on Post-Shift Calls, Shutting Down Computer Systems,
                            Applications, and Phone System)

       28.     Plaintiff and other similarly-situated employees were required by Defendant to

perform unpaid work after their shift ended each day including but not limited to shutting down

and logging out of Defendant’s computer systems, numerous software applications, and phone

system.

       29.     Defendant arbitrarily failed to count this work performed by Plaintiff and other

similarly-situated employees as “hours worked.”

       30.     Plaintiff and other similarly-situated employees performed this unpaid work every

workday, and it constituted a part of their fixed and regular working time.

       31.     This unpaid work performed by Plaintiff and other similarly-situated employees

was practically ascertainable to Defendant.

       32.     There was no practical administrative difficulty of recording this unpaid work of

Plaintiff and other similarly-situated employees. It could have been precisely recorded for payroll

purposes simply by allowing them to clock out after shutting down Defendant’s computer systems,

applications, and phone system and before and after other meetings and work time.

       33.     This unpaid work performed by Plaintiff and other similarly-situated employees

constituted a part of their principal activities, was required by Defendant, and was performed for

Defendant’s benefit.

       34.     Moreover, this unpaid work was an integral and indispensable part of other

principle activities performed by Plaintiff and other similarly-situated employees.
       (Failure to Pay for Time Spent working but not logged into computer systems)

       35.     Defendant utilized a timekeeping system such that Plaintiff and similarly situated

employees are not paid for all hours worked.

       36.     Plaintiff and similarly situated employees are not compensated for the time spent

not logged into call programs or any other time spent working to log in or out of the computer

systems, applications, and phone system.

                           (Failure to Pay Overtime Compensation)

       37.     As a result of Plaintiff and other similarly-situated employees not being paid for all

hours worked, Plaintiff and other similarly-situated employees were not paid overtime

compensation for all of the hours they worked over 40 each workweek.

       38.     Defendant knowingly and willfully engaged in the above-mentioned violations of

the FLSA.

                              (Failure to Keep Accurate Records)

       39.     Defendant failed to make, keep and preserve records of the unpaid work performed

by Plaintiffs and other similarly-situated employees before clocking in each day.

                          COLLECTIVE ACTION ALLEGATIONS

       40.     Plaintiff brings Count One of this action on her own behalf pursuant to 29 U.S.C.

§ 216(b), and on behalf of all other persons similarly situated who have been, are being, or will be

adversely affected by Defendant’s unlawful conduct.

       41.     The class which Plaintiff seeks to represent and for whom Plaintiff seeks the right

to send “opt-in” notices for purposes of the collective action, and of which Plaintiff is herself a

member, is composed of and defined as follows:

               All former and current call center/customer
               care/account/compliance representatives or persons with jobs
               performing substantially identical functions and/or duties to call
               center/customer care/account/compliance representatives
               employed by Charter Communications, LLC during the statutory
               period covered by this Complaint.

       42.     Plaintiff is unable to state at this time the exact size of the potential class, but upon

information and belief, avers that it consists of more than 100 persons.

       43.     This action is maintainable as an “opt-in” collective action pursuant to 29 U.S.C. §

216(b) as to claims for unpaid overtime compensation, liquidated damages, attorneys’ fees and

costs under the FLSA. In addition to Plaintiff, numerous current and former employees are

similarly situated with regard to their wages and claims for unpaid wages and damages. Plaintiff

is representative of those other employees and is acting on behalf of their interests as well as her

own in bringing this action.

       44.     These similarly-situated employees are known to Defendant and are readily

identifiable through Defendant’s payroll records. These individuals may readily be notified of this

action, and allowed to opt in pursuant to 29 U.S.C. § 216(b), for the purpose of collectively

adjudicating their claims for unpaid overtime compensation, liquidated damages, attorneys’ fees

and costs under the FLSA.

                               CLASS ACTION ALLEGATIONS

       45.     Plaintiff brings Counts Two and Three of this action pursuant to Fed. R. Civ. P.

23(a) and (b)(3) on behalf of herself and all other members of the class (“the Ohio Class”) defined

as:

               All former and current call center/customer
               care/account/compliance representatives or persons with jobs
               performing substantially identical functions and/or duties to call
               center/customer care/account/compliance representatives employed
               by Charter Communications, LLC in the State of Ohio during the
               statutory period covered by this Complaint.
        46.    The Ohio Class is so numerous that joinder of all class members is impracticable.

Plaintiff is unable to state at this time the exact size of the potential Ohio Class, but upon

information and belief, avers that it consists of at least 100 persons.

        47.    There are questions of law or fact common to the Ohio Class, including but not

limited to the following:

               (a) whether Defendant failed to pay overtime compensation to its
                   customer care/call center/account/compliance representatives
                   for hours worked in excess of 40 each workweek; and

               (b) what amount of monetary relief will compensate Plaintiff and
                   other members of the Class for Defendant’s violation of R.C.
                   4111.03 and 4111.10 and Article II, § 34A of the Ohio
                   Constitution.

        48.    The claims of the named Plaintiff is typical of the claims of other members of the

Ohio Class. Named Plaintiff’s claims arise out of the same uniform course of conduct by

Defendant and are based on the same legal theories as the claims of the other Ohio Class members.

        49.    The named Plaintiff will fairly and adequately protect the interests of the Ohio

Class. Her interests are not antagonistic to, but rather are in unison with, the interests of the other

Ohio Class members. The named Plaintiff’s counsel has broad experience in handling class action

wage-and-hour litigation and is fully qualified to prosecute the claims of the Ohio Class in this

case.

        50.    The questions of law or fact that are common to the Ohio Class predominate over

any questions affecting only individual members. The primary questions that will determine

Defendant’s liability to the Ohio Class, listed above, are common to the class as a whole, and

predominate over any questions affecting only individual class members.

        51.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.       Requiring Ohio Class members to pursue their claims
individually would entail a host of separate suits, with concomitant duplication of costs, attorneys’

fees, and demands on court resources. Many Ohio Class members’ claims are sufficiently small

that they would be reluctant to incur the substantial cost, expense, and risk of pursuing their claims

individually. Certification of this case pursuant to Fed. R. Civ. P. 23 will enable the issues to be

adjudicated for all class members with the efficiencies of class litigation.

                                        COUNT ONE
                             (Fair Labor Standards Act Violations)

          52.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          53.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees for work performed before clocking in each day violated the FLSA, 29 U.S.C. § 207,

29 CFR § 785.24.

          54.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees for all work performed each day violates the FLSA, 29 U.S.C. § 207, 29 CFR § 785.24.

          55.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees overtime compensation at a rate of one and one-half times their regular rate of pay for

all of the hours they worked over 40 in a workweek violates the FLSA, 29 U.S.C. § 207.

          56.   Defendant’s failure to keep records of all of the hours worked each workday and

the total hours worked each workweek by Plaintiff and other similarly-situated employees violates

the FLSA, 29 C.F.R. 516.2(a)(7).

          57.   By engaging in the above-mentioned conduct, Defendant willfully, knowingly

and/or recklessly violated the provisions of the FLSA.

          58.   As a result of Defendant’s practices and policies, Plaintiff and other similarly-

situated employees have been damaged in that they have not received wages due to them pursuant
to the FLSA.

                                     COUNT TWO
 (Violations of Ohio Revised Code 4111.03 and Article II, § 34A of the Ohio Constitution)

          59.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          60.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees for work performed before clocking in each day violated the OMFWSA, R.C. 4111.03

and Article II, § 34A of the Ohio Constitution.

          61.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees for work performed after their shift ended violated the OMFWSA, R.C. 4111.03 and

Article II, § 34A of the Ohio Constitution.

          62.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees for work performed when not logged into Defendant’s computer systems, applications,

and phone system violated the OMFWSA, R.C. 4111.03 and Article II, § 34A of the Ohio

Constitution.

          63.   Defendant’s practice and policy of not paying Plaintiff and other similarly-situated

employees overtime compensation at a rate of one and one-half times their regular rate of pay for

all of the hours they worked over 40 in a workweek violated the OMFWSA, R.C. 4111.03 and

Article II, § 34A of the Ohio Constitution

          64.   By failing to pay Plaintiff and other similarly-situated employees’ overtime

compensation, Defendant willfully, knowingly and/or recklessly violated the provisions of the

OMFWSA, R.C. 4111.03 and Article II, § 34A of the Ohio Constitution.

                                          Count Three
                            Damages Pursuant to O.R.C. § 2307.60
                          (On Behalf of Plaintiff and the Rule 23 Class)
        65.     As a result of Defendant’s practices and policies, Plaintiff and other similarly-

situated employees have been damaged in that they have not received wages due to them pursuant

to the OMFWSA and the Ohio Constitution. Plaintiff restates and incorporate the foregoing

allegations as if fully rewritten herein.

        66.     The Fair Labor Standards Act, 29 U.S.C. § 216(a), imposes criminal penalties for

willful violations of the FLSA.

        67.     By their acts and omissions described herein, Defendant has willfully violated the

FLSA, and Plaintiff and the Rule 23 Class have been injured as a result.

        68.     O.R.C. § 2307.60 permits anyone injured in person or property by a criminal act to

recover damages in a civil action, including exemplary and punitive damages.

        69.     As a result of Defendant’s willful violations of the FLSA, Plaintiff and the Rule 23

Class are entitled to compensatory and punitive damages pursuant to O.R.C. § 2307.60.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, and all those similarly situated, collectively pray that this

Honorable Court:

        A.      Issue an order permitting this litigation to proceed as a collective action;

        B.      Order prompt notice, pursuant to 29 U.S.C. § 216(b), to all class members that this

litigation is pending and that they have the right to “opt in” to this litigation;

        C.      Award Plaintiff and the classes she represents actual damages for unpaid wages;

        D.      Award Plaintiff and the Rule 23 Class compensatory and punitive damages

pursuant to O.R.C. 2307.60;

        D.      Award Plaintiff and the classes she represents statutory liquidated damages;

        E.      Award Plaintiff and the classes she represents pre- and post-judgment interest at the
statutory rate;

        F.        Award Plaintiff and the classes she represents attorneys’ fees, costs, and

disbursements; and

        G.        Award Plaintiff and the classes she represents further and additional relief as this

Court deems just and proper.

                                                 Respectfully submitted,

                                                   /s/ Michael L. Fradin
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                                           JURY DEMAND

        Plaintiff demands a trial by jury on all eligible claims and issues.
